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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


  SYNKLOUD TECHNOLOGIES, LLC,

                 PLAINTIFF,
                                                             Civil Action No. 6:19-cv-00525-ADA
         v.

  DROPBOX, INC.,
                                                             JURY TRIAL DEMANDED
                 DEFENDANT.




              STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

       Plaintiff SynKloud Technologies, LLC and Defendant Dropbox, Inc., pursuant to Fed. R.

Civ. P. 41(a)(2) and (c), hereby move for an order dismissing all claims in this action WITH

PREJUDICE, with each party to bear its own costs, expenses and attorneys’ fees and with each

party knowingly and voluntarily waiving any right, arising under 35 U.S.C. § 285 or otherwise, to

make a claim for any costs, attorney fees or other expenses associated with the matters settled by

this Stipulated Motion for Dismissal with Prejudice.
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Dated: June 2, 2022


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                               CERTIFICATE OF SERVICE
      I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system on June 2, 2022.


                                                    /s/ J. Stephen Ravel
                                                    J. Stephen Ravel




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